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                             UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA


                                              )    Case Number
CHRISTELL TILLEY                              )
                                              )
                Plaintiff                     )
                                              )    CIVIL COMPLAINT
         vs.                                  )
                                              )
MERCANTILE ADJUSTMENT INC.                    )    JURY TRIAL DEMANDED
a/k/a MERCANTIL ADJUSTMENT                    )
BUREAU, LLC                                   )
           Defendant                          )



                             COMPLAINT AND JURY DEMAND

         COMES NOW, Plaintiff, Christell Tilley, by and through her undersigned counsel,

Brent F. Vullings, Esquire of Warren & Vullings, LLP, complaining of Defendant and

respectfully avers as follows:

                        I.       INTRODUCTORY STATEMENT

         1.     Plaintiff, Christell Tilley, is an adult natural person and brings this action

for actual and statutory damages and other relief against Defendant for violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits

debt collectors from engaging in abusive, deceptive and unfair practices.

                                   II.     JURISDICTION

         2.     Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.
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       3.      Venue in this District is proper in that the Defendant transacts business here

and Defendant maintains a registered office in this District.

                                  III.    PARTIES

       4.      Plaintiff, Christell Tilley, (“Plaintiff”) is an adult natural person residing at

200 S. 2nd Street, Mayoden, NC 27027. At all times material and relevant hereto, Plaintiff

is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

       5.      Defendant, Mercantile Adjustment Bureau, Inc. a/k/a Mercantile

Adjustment Bureau, LLC. (“Defendant”), at all times relevant hereto, is and was a

corporation engaged in the business of collecting debt within the Commonwealth of

Pennsylvania and the State of North Carolina with its principal place of business located at

40 West Avenue, Rochester, NY 14611 and a registered address at 116 Pine Street, Suite

320, Harrisburg, PA 17101.

       6.      Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant regularly attempts to collect consumer debts alleged to be

due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).

                           IV.     FACTUAL ALLEGATIONS

       7.      In or around July 2009, the Defendant began contacting the Plaintiff

regarding an alleged debt due American General Finance on a previous vehicle loan.

       8.      The Plaintiff’s husband passed away five years ago causing the Plaintiff to

file for bankruptcy.
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       9.      The Plaintiff is self employed and relies solely on the income from her

business.

       10.     The Plaintiff was unable to pay for her home and vehicle loan due to the

loss of her husband’s income.

       11.     The Plaintiff’s vehicle was repossessed and sold by American General for

much less than it was worth at that time.

       12.     The Defendant relentlessly began contacting the Plaintiff until the Plaintiff

agreed to set up a payment plan.

       13.     The Defendant has contacted the Plaintiff’s employee informing the

employee that the Defendant was calling in regards to an unresolved debt of the Plaintiff’s.

       14.     The Plaintiff has been making payments in the amount of $100.00 each

month up until May of 2010 when she was no longer capable of doing so.

       15.     The Defendant began contacting the Plaintiff, in or around June 2010, after

the last payment was made and the first payment was missed.

       16.     The Plaintiff informed the Defendant that she would not be able to make

payments until September at which point the Plaintiff should have enough funds to

continue.

       17.     The Defendant told the Plaintiff that the Plaintiff can settle the debt that day

by paying $1,600.00.

       18.     The Plaintiff informed the Defendant that if the Plaintiff could afford to do

so, she would settle but that it is impossible due to her lack of funds.
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       19.     The Plaintiff requested documentation from the Defendant showing a

breakdown of original money owed, payments made and the remaining balance but the

Defendant refused to send the Plaintiff any information.

       20.     The Plaintiff has continuously made monthly payments for the past year and

does not understand how she owes more than what the original amount was when the

Defendant took over the debt.

       21.     The Defendant informed the Plaintiff that if the Plaintiff were not located in

North Carolina, that the Defendant would have already garnished the Plaintiff’s wages so

instead, the Defendant told the Plaintiff that they were going to just levy her bank account.

       22.     The Defendant’s agents have threatened the Plaintiff claiming that if the

Plaintiff does not pay the Defendant will take the Plaintiff’s business.

       23.     The above statement upset the Plaintiff since she had already lost her

husband, home and vehicle and cannot afford to lose her business since it is the only

income the Plaintiff has left.

       24.     The Plaintiff is afraid that if the Defendant levies the Plaintiff’s bank

account, like they have threatened to do, she could risk losing her business.

       25.     The Defendant continues to contact the Plaintiff on a daily basis on her cell

phone and place of business.

       26.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

their agent’s actions within compliance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.
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       27.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

       28.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.

       29.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage to

Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and anguish

and pecuniary loss and he will continue to suffer same for an indefinite time in the future,

all to his great detriment and loss.

                                       COUNT I – FDCPA

       30.     The above paragraphs are hereby incorporated herein by reference.

       31.     At all times relevant hereto, Defendant was attempting to collect an alleged

debt which was incurred by Plaintiff for personal, family or household purposes and is a

“debt” as defined by 15 U.S.C. § 1692a(5).

       32.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§ 1692b(2):             Contact of Third Party: Stated that the consumer

                                        owes any debt

               §§ 1692c(a)(1):          At any unusual time, unusual place, or unusual time

                                        and place known to be inconvenient to the consumer
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     §§ 1692c(b):      With anyone except consumer, consumer’s attorney,

                       or credit bureau concerning the debt

     §§ 1692d:         Any conduct the natural consequence of which is to

                       harass, oppress, or abuse any person

     §§ 1692d(2):      Profane language or other abusive language

     §§ 1692d(5):      Caused the phone to ring or engaged any person in

                       telephone conversations repeatedly

     §§ 1692e:         Any other false, deceptive, or misleading

                       representation or means in connection with the debt

                       collection

     §§ 1692e(2):      Character, amount, or legal status of the alleged debt

     §§ 1692e(4):      Nonpayment of any debt will result in the arrest or

                       imprisonment of any person or the seizure,

                       garnishment, attachment

     §§ 1692e(5):      Threaten to take any action that cannot legally be

                       taken or that is not intended to be taken

     §§ 1692e(10):     Any false representation or deceptive means to

                       collect a debt or obtain information about a consumer

     §§ 1692f:         Any unfair or unconscionable means to collect or

                       attempt to collect the alleged debt
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                   §§ 1692f(6):           Taken or threatened to unlawfully repossess or

                                          disable the consumer’s property

        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in his

favor and against Defendant, Mercantile Adjustment Bureau, Inc. a/k/a Mercantile

Adjustment Bureau, LLC. and Order the following relief:

        a.         Actual damages;

        b.         Statutory damages pursuant to 15 U.S.C. §1692k;

        c.         Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        d.         Such addition and further relief as may be appropriate or that the interests of

justice require.

                                     V.      JURY DEMAND

        Plaintiff hereby demands a jury trial as to all issues herein.



                                                  Respectfully submitted,
                                                  WARREN & VULLINGS, LLP

        Date: September 23, 2010
                                                  BY: /s/ Brent F. Vullings_

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